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                                           June 12, 2023

Via ECF

Hon. Analisa Torres
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     United States v. Yanping Wang, S1 1:23-cr-00118-AT
               Request for Court Order for Access to a Government-Provided, Internet-
               Disabled Laptop Computer

Dear Hon. Judge Torres:

        Along with Lipman Law PLLC, we represent Defendant Yanping Wang in the above-
referenced matter. On June 6, 2023, the Court granted the request of Mr. Ho Wan Kwok, one of
the co-defendants, for access to a government-provided, internet-disabled laptop computer while
detained at the Metropolitan Detention Center (“MDC”) in Brooklyn to review the voluminous
and complex discovery in this case. (ECF No. 81). During the June 6, 2023, status conference,
Your Honor orally indicated that the grant of Mr. Kwok’s request applies to Ms. Wang as well.
With this letter, we respectfully request the Court to formalize its grant of laptop access for
Ms. Wang, ensuring that she has the necessary tools to participate in her defense effectively.

         As explained in Mr. Kwok’s letter-motion to the Court, dated June 5, 2023, (ECF
No. 80), the MDC Legal Department maintains that limited access to a public desktop computer
is sufficient for reviewing the discovery in this case. This position is not justifiable because the
public computer is only available at certain times of the day, must be shared with Ms. Wang’s
entire housing unit, and provides no privacy for reviewing confidential material.

       In this case, the discovery is extensive, comprising at least six terabytes of data. It
includes various document types such as PDFs, Excel files, emails, and videos. In addition,
Ms. Wang requires the documents in English to be translated into Mandarin to comprehend and
review them thoroughly. Given the size and complexity of the data, it is unreasonable to expect
Ms. Wang to review this discovery on a shared public desktop computer that has limited
availability, lacks privacy, and does not meet her extensive computer access needs. The public
desktop computer is available on weekdays from 7:00 a.m. to 7:00 p.m. and during modified
hours on weekends, which is insufficient for adequate review of the voluminous discovery.



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       Furthermore, the discovery is subject to a protective order issued by Your Honor on May
4, 2023. (ECF No. 63). The protective order prohibits the disclosure of confidential discovery
material to individuals other than Ms. Wang, her counsel, and those retained by her counsel for
defense preparation. Providing Ms. Wang access to a public desktop computer compromises the
required privacy for reviewing confidential materials, as her screen and sensitive information
would be visible to everyone in the room.

        The MDC has a policy of allowing access to a laptop only one month before trial in cases
involving a large volume of 3500 material. However, this policy fails to address Ms. Wang’s
immediate need for a timely and proper review of the voluminous and complex material in this
case. Requesting an internet-disabled laptop is a reasonable accommodation, and we are willing
to collaborate with the government and the MDC to ensure that any laptop provided meets the
required specifications.

        In conclusion, we respectfully request the Court to grant Ms. Wang’s request for access
to a government-provided, internet-disabled laptop computer while detained at the MDC to
review the voluminous and complex discovery in this case. As demonstrated above, Ms. Wang’s
need for laptop access is also critical for her to be able to assist in her defense, and she is in a
similar position to Mr. Kwok. For these reasons, during the June 6, 2023, status conference,
Your Honor orally indicated that the grant of Mr. Kwok’s request applies to Ms. Wang as well.
Therefore, we respectfully ask the Court to formalize its grant of laptop access for Ms. Wang,
ensuring that she has the necessary tools to participate in her defense effectively.

                                     Respectfully submitted,

                                                /s/

                                          Priya Chaudhry

                                                        SO ORDERED.



                                                        _________________________________
                                                        HON. ANALISA TORRES, U.S.D.J.


 Cc:    AUSA Juliana N. Murray
        AUSA Micah Fergenson
        AUSA Ryan Finkel




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